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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA         :
                                 :
     v.                          :     Crim. NO. 3:99cr264(AHN)
                                 :
DAMON WALKER                     :
                                 :

              RULING ON MOTION FOR JUDGMENT OF ACQUITTAL
                    AND MOTION TO VACATE CONVICTION

     On June 3, 2005, a jury convicted defendant Damon Walker

("Walker") on five counts: Count One, racketeering, in violation

of the Racketeer Influenced and Corrupt Organizations Act

("RICO"), 18 U.S.C. § 1962(c); Count Two, RICO conspiracy, in

violation of 18 U.S.C. § 1962(d); Counts Three and Four,

conspiracy to possess with intent to distribute and to distribute

cocaine base, in violation of 21 U.S.C. § 841(a)(1)(B) and

(b)(1)(A) and 21 U.S.C. § 846; and Count Eleven, Obstruction of

Justice for witness tampering, in violation of 18 U.S.C. §

1512(b)(3).    Following his conviction, Walker filed a motion for

a judgment of acquittal pursuant to Fed. R. Crim. P. 29(c) and,

in the alternative, a motion for a new trial under Fed. R. Crim.

P. 33 [dkt # 1873].    The court held oral argument on the motion

on November 21, 2005, and orally denied the motion before

sentencing Walker.    This ruling provides a more detailed

explanation of the court’s decision to deny Walker’s motion.

                                STANDARD

     Under Fed. R. Crim. P. 33(a), this court "may vacate any

judgment and grant a new trial if the interest of justice so
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requires."   The court has broader discretion to grant a new trial

on such a motion than it does to order an acquittal under Fed. R.

Crim. P. 29.    See United States v. Ferguson, 246 F.3d 129, 134

(2d Cir. 2001).     The court thus considers Walker’s motion under

the standard of review for a Rule 33 motion for a new trial.                 If

this motion fails, as it must based on the evidence presented at

trial, then Walker’s motion for acquittal must also fail a

fortiori.

     Although this court has broad discretion in considering

motions for a new trial, it should exercise its authority under

Rule 33 "sparingly" and in "the most extraordinary

circumstances."     Ferguson, 246 F.3d at 134 (quoting United States

v. Sanchez, 969 F.2d 1409, 1414 (2d Cir. 1992)).             The ultimate

test is whether letting a guilty verdict stand would be a

manifest injustice.     See United States v. Canova, 412 F.3d 331,

348 (2d Cir. 2005).     There must be a real concern that an

innocent person may have been convicted.        See id.       In considering

the motion, the court may weigh the evidence and the credibility

of witnesses, but it must be careful not to usurp the role of the

jury.   See id.    The court must be satisfied that "competent,

satisfactory and sufficient evidence" in the record supports the

jury verdict.     See Ferguson, 246 F.3d at 134.

                               DISCUSSION

     Walker contends that he is entitled to a new trial because


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the evidence introduced by the prosecution is insufficient to

support his conviction.     He argues specifically that the

government failed to prove the conspiracy alleged in counts three

and four because it did not show that the conspiracy involved

each of the three drugs alleged.        He further contends that the

government failed to prove that this conspiracy involved crack

cocaine.    Walker also maintains that the government did not

present sufficient evidence to support his conviction of

obstruction of justice, as charged in count eleven and

racketeering act seven.

     The government responds that it need not demonstrate that

each of the drugs charged in the indictment was involved to show

a drug conspiracy.    It further asserts that it presented

sufficient evidence at trial to support the charges of conspiracy

to possess with intent to distribute and obstruction of justice.

The court agrees with the government that Walker’s claims do not

entitle him to a new trial, let alone acquittal.

     A.    Sufficiency of Evidence in Multi-Object Conspiracy

     Walker argues that the government failed to prove, as

alleged in count three, that he and four other defendants

conspired to distribute heroin, cocaine, and crack cocaine.1                He


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       The indictment charged the co-conspirators with agreeing
to "[i] possess with intent to distribute and to distribute 1,000
grams or more of a mixture or substance containing a detectable
amount of heroin, a Schedule I Controlled Substance, [ii] 5,000
grams or more of a mixture or substance containing a detectable

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claims that, because the jury only found him guilty of conspiracy

to possess with intent to distribute crack cocaine, but not the

other two drugs charged in the indictment, the jury either

convicted him of a different conspiracy than was charged, or the

court impermissibly expanded the scope of the indictment by

constructively replacing the indictment’s use of the conjunctive

"and" with the disjunctive "or."        Walker’s argument is without

merit.

     The Second Circuit considered a similar allegation of an

expanding indictment in United States v. Coriaty, 300 F.3d 244

(2d Cir. 2002).   In that case, the defendant was indicted for,

and convicted of, wire fraud, securities fraud, and conspiracy

"to commit wire fraud and securities fraud."         See id. at 249-50

(emphasis added).   On the defendant’s motion, the district court

dismissed the securities fraud conviction for insufficiency of

the evidence, but sustained the conviction for conspiracy.             On

appeal, the defendant argued that the conspiracy conviction

should have been overturned because the court acknowledged that

there was insufficient evidence to demonstrate that he conspired

to commit both wire fraud and securities fraud.          Thus, he argued

that the district court had either constructively amended the


amount of cocaine, and [iii] 50 grams or more of a mixture or
substance containing a detectable amount of cocaine base, or
‘crack’ cocaine, Schedule II Controlled Substances, contrary to
the provisions of [21 U.S.C. §§] 841(a)(1) and 841(b)(1)(A)."
Seventh Superseding Indictment, [dkt # 1560], at 16.

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indictment, substituting "or" for "and," or he was convicted of a

crime not alleged in the indictment, i.e., conspiracy to commit

wire fraud or securities fraud.         See id. at 250.       The Second

Circuit rejected the defendant’s argument, noting that "the lack

of sufficient evidence to support one of the objects of a

multi-object conspiracy does not vitiate the conspiracy

conviction, where there was sufficient evidence to support the

other object."    Id. (quoting United States v. Pascarella, 84 F.3d

61, 71 (2d Cir. 1996)) (alterations and internal citations

omitted).

     As Coriaty and Supreme Court precedent instruct, "when a

jury returns a guilty verdict on an indictment charging several

acts in the conjunctive, . . . the verdict stands if the evidence

is sufficient with respect to any one of the acts charged."

Turner v. United States, 396 U.S. 398, 420 (1970) (emphasis

added).    Thus, it is irrelevant for the purpose of Walker’s

conviction on counts three and four that the jury did not find

that his conspiracy involved all three of the narcotics specified

in the indictment.    It is sufficient that the jury found that the

conspiracy in which Walker was engaged involved just crack

cocaine.

     B. Sufficiency of Evidence of the Crack Cocaine Conspiracy

     Walker next claims that the government failed to present any

evidence that the substance distributed as part of the charged


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"East Side Conspiracy" or "Greens Homes Housing Project

Conspiracy" was crack cocaine, that is, cocaine base within the

meaning of 21 U.S.C. § 841(b)(1)(A)(iii).        Specifically, Walker

maintains that the government’s evidence was insufficient to

prove that the substance was crack cocaine because the DEA’s

forensic chemist testified that the results of the tests he

performed on the seized cocaine were consistent with cocaine in

its naturally occurring alkaloid form, and that the substance was

not necessarily crack cocaine.     Thus, Walker argues that the

government failed "to produce any reliable, direct evidence

concerning drugs seized" from the various trafficking operations.

     Walker cites no authority that requires the government to

prove a drug conspiracy by direct scientific evidence rather than

circumstantial evidence.     As the government points out, federal

law does not generally distinguish between direct and

circumstantial evidence, and permits a conviction based solely on

the latter.    See United States v. Alameh, 341 F.3d 167, 173 (2d

Cir. 2003).    Indeed, the Supreme Court has "never questioned the

sufficiency of circumstantial evidence in support of a criminal

conviction, even though proof beyond a reasonable doubt is

required."    Desert Palace, Inc. v. Costa, 539 U.S. 90, 100

(2003).   Nor has this general principle been abandoned for drug

prosecutions.    In United States v. Crisp, 563 F.2d 1242 (5th Cir.

1977), the court held that "[t]he nature of a narcotic drug . . .


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may be established by circumstantial evidence, so long as the

drug’s identity is established beyond a reasonable doubt."             See

id. at 1244.   Although laboratory testing may be quite helpful to

the jury in resolving reasonable doubts the jurors may have, such

scientific procedures are not essential for the government to

prove the existence of an agreement to distribute a particular

type of narcotic.   See Desert Palace, 539 U.S. at 100.

     Even in the absence of such scientific testing on the seized

narcotics, the circumstantial evidence presented by the

government during Walker’s trial was so extensive that a

reasonable jury could find beyond a reasonable doubt that Walker

had conspired to distribute crack cocaine.        Two experienced

police officers, William Mayer ("Mayer") and Glen Cassone

("Cassone"), both examined drugs seized during the arrests of

various members of the drug-trafficking ring.         Mayer testified

that cocaine is a pure, white powder, while crack cocaine is a

chunkier, off-white substance, and based on his 18 years of

experience, the substances recovered were crack cocaine.            Cassone

also testified that the drugs seized were "rocky" substances

consistent with crack cocaine.     In addition, both officers

conducted chemical field tests on the substances which yielded

positive results for crack cocaine.

     The central role of crack cocaine in the drug-trafficking

operation was also demonstrated by the testimony of four


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different drug dealers who described the drug and its packaging.

Jose Osorio ("Osorio"), Oretegus Eaddy, John Glover, and Quadan

Thompson each testified that they sold pink-top vials filled with

crack as part of the drug-trafficking conspiracy.            The testimony

of six witnesses, including two experienced police officers who

conducted field chemical tests, is more than sufficient to prove

beyond a reasonable doubt that Walker conspired to distribute

crack cocaine, and thus the court has no grounds to overturn the

jury’s verdict on counts three and four.

     C.    Obstruction of Justice

     In count eleven and racketeering act seven, the government

alleged that Walker obstructed justice by tampering with a

witness.    Specifically, the government charged that Walker

threatened Osorio, a witness to the drug-trafficking activity, to

prevent him from cooperating with law enforcement.           Walker,

however, contends that the government failed to present evidence

of witness tampering that was sufficient to support a conviction.

Walker thus challenges not only the jury’s verdict on the

obstruction of justice charge alleged in count eleven, but also

its finding that the same witness tampering was a racketeering

act in support of his RICO convictions (counts one and two).                He

further maintains that, even if the evidence of witness tampering

was sufficient to support the jury’s finding as to racketeering

act seven, that crime is too unrelated to the drug-trafficking


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activities alleged and proved in racketeering act one to

demonstrate the required pattern of racketeering activity.2             See

United States v. Simmons, 923 F.2d 934, 951 (2d Cir. 1991)

(requiring "a demonstrable relationship between or among the acts

of racketeering activity" that is more connected than "isolated

events").   Walker thus asserts that his conviction of the RICO

counts also cannot stand.

     i.   Sufficiency of the Evidence

     Walker contends that the government never demonstrated that

he had an improper motive in speaking with Osorio in 2001, and

that no reasonable inference could be drawn from the evidence

presented that suggests such a motive.       The court disagrees.           The

evidence adduced at trial is sufficient to support the jury’s

verdict on the alleged witness-tampering.        One of the subordinate

drug dealers, Osorio, testified that in the summer of 2001, he

and Walker were both inmates at the Radgowski Correctional

Facility, and that Walker approached him while the two were

walking in the prison yard to find out why the authorities were


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      The indictment charged Walker with committing three
racketeering acts: the drug-trafficking conspiracies
(Racketeering Act One), the conspiracy to murder members of the
rival Terrace Crew Members gang (Racketeering Act Three), and
obstruction of justice (Racketeering Act Seven). The jury,
however, found Walker not guilty of conspiracy to murder. Thus,
if the evidence were insufficient to convict Walker for witness
tampering, the prosecution would have proven only one
racketeering act and not the two required. Thus, Walker contends
if his witness tampering conviction in count eleven is vacated,
his RICO convictions must also be vacated.

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speaking to him.    Osorio testified that Walker told him "if you’s

was talkin’ or whatever, be careful because everybody, you know,

sayin’ everybody in the streets gonna know about it and you will

be taken care of."    Osorio said that he understood this language

to be a threat, and his interpretation is certainly reasonable.

Walker’s statement that Osorio should "be careful" and that he

would be "taken care of" if he cooperated with the authorities

implies a threat of physical violence; the statement that

"everybody in the streets gonna know" implies that many

individuals would be willing to enforce the threat.            Osorio’s

testimony thus constitutes the "competent, satisfactory and

sufficient evidence" in the record that must support a jury

verdict to withstand a motion for a new trial.          See Ferguson, 246

F.3d at 134.

     ii.   Pattern of Racketeering Activity

     Walker also argues that even if the evidence of witness-

tampering was sufficient, this crime is too unrelated to the

drug-trafficking activity to constitute a RICO predicate act, and

thus the government failed to prove a pattern of racketeering

activity as required for a conviction of RICO and RICO

conspiracy.    The court disagrees.

     The witness-tampering is demonstrably related to the other

predicate racketeering act of drug conspiracy and thus is

sufficient to establish a pattern of racketeering.           See Simmons,


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923 F.2d at 951.    Walker’s thinly-veiled threat to Osorio was

obviously an attempt to protect the drug-trafficking conspiracy

from the intervention of the police and the courts, and thus the

two criminal acts served "similar purposes."           See id.    The

connection between Walker’s intimidation of a witness and his

involvement in a conspiracy to distribute crack cocaine is strong

enough to sustain the jury’s finding that these two acts

constituted the pattern of racketeering activity that is required

for the RICO convictions on counts one and two.

                                CONCLUSION

     The foregoing reasons support the courts’ oral order denying

Walker’s motion for acquittal and a new trial [dkt # 1873].



                            _____________/s/_____________
                                    Alan H. Nevas
                              United States District Judge




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